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                               UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS
                                    ROCK ISLAND DIVISION


 ASHLEY NICHOLE BERGHEGER,
                                                           CIVIL COMPLAINT
               Plaintiff,

 v.                                                              CASE NO. 1:16-cv-08731

 COMENITY BANK,
                                                       DEMAND FOR JURY TRIAL
               Defendant.


                         COMPLAINT FOR RELIEF PURSUANT
                   TO THE TELEPHONE CONSUMER PROTECTION ACT

        NOW comes ASHLEY NICHOLE BERGHEGER (“Plaintiff”), by and through her

attorneys, Sulaiman Law Group, Ltd. (“Sulaiman”), complaining of COMENITY BANK

(“Defendant”), as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection

Act (“TCPA”) pursuant to 47 U.S.C. §227 and the Illinois Consumer Fraud and Deceptive

Business Practices Act (“ICFA”) pursuant to 815 ILCS 505/1 for Defendant's unlawful practices.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States and supplemental jurisdiction exists for the state law claim

pursuant to 28 U.S.C. §1367.




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    3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts

business in the Central District of Illinois and a substantial portion the events or omissions giving

rise to the claims occurred within the Central District of Illinois.

                                                 PARTIES

    4. Plaintiff is a 23 year old person residing at 303 Hansford Street, Carthage, Illinois which

falls within the Central District of Illinois.

    5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39) of the TCPA.

    6. Defendant is a national banking institution organized under the laws of the United States

with its headquarters located in Wilmington, Delaware. Defendant is a foreign company that

conducts business with consumers in Illinois.

    7. Defendant is a “person” as defined by 47 U.S.C. §153(39) of the TCPA.

                              FACTS SUPPORTING CAUSES OF ACTION

    8. In approximately 2014, Plaintiff was issued a consumer credit card through Defendant

which she used to make purchases of household goods and services. See attached Exhibit A is a

true and correct copy of an affidavit signed by Plaintiff.

    9. After using the consumer credit card, Plaintiff would regularly make payments to

Defendant. See Exhibit A.

    10. Unfortunately, Plaintiff defaulted on her contractual payments to Defendant. Id.

    11. Following Plaintiff’s failure to pay the consumer credit card she started receiving

collection calls from Defendant to her cellular phone, (217) XXX-5582. Id.

    12. The number that Defendant would regularly call Plaintiff from was (614) 212-7531. Id.

    13. Defendant would call Plaintiff as many as seven times during the same day. Id.

    14. Some of the calls from Defendant would be as close as 15 minutes apart.



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    15. During some of the calls, Defendant would leave a prerecorded message on Plaintiff’s

voicemail. Id.

    16. On the calls that Plaintiff spoke with a live representative, she would experience a brief

pause after answering and before being connected with someone. Id.

    17. During the summer of 2015, Plaintiff spoke with Defendant and instructed it to cease

contacting her. Id.

    18. Plaintiff, having previously worked in a call center, demanded that Defendant place her

on the “Do Not Call List”. Id.

    19. Despite Plaintiff’s demand, Defendant continued to place calls to her cellular phone.

On at least one occasion Defendant threatened legal action if she did not make payment. Id.

    20. Frustrated over Defendant’s constant calls and its threat of legal action, Plaintiff used

her tax refund to pay the consumer credit card in full. Id.

    21. Despite Plaintiff’s payment, Defendant still continued to place calls to her cellular

phone. Id.

    22. Plaintiff has received no less than 75 automated calls from Defendant.

    23. Faced with the realization that Defendant would not cease contacting her despite

requests to do so, Plaintiff authorized Sulaiman to bring the instant proceeding.

    24. Plaintiff has suffered financial loss as a result of Defendant’s actions. Due to

Defendant’s frequent calls and threats, Plaintiff used her tax refund to pay the consumer credit

card in full.

    25. Plaintiff has incurred charges and expenses that she would not have otherwise incurred

if not for Defendant’s systematic calls, including the loss of cellular phone capacity.




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    26. Plaintiff has been unfairly harassed by Defendant's actions, resulting in an increased

stress level.

    27. Plaintiff has suffered concrete harm as a result of Defendant’s actions.

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           COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

    28. Plaintiff repeats and realleges paragraphs 1 through 27 as though fully set forth herein.

    29. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent.

The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the

capacity...to store or produce telephone numbers to be called, using a random or sequential

number generator; and to dial such numbers.”

    30. Defendant used an ATDS in connection with it communications directed towards

Plaintiff. The prerecorded messages left on Plaintiff’s voicemail are typical of the variety

generated by an ATDS. Additionally, the brief pause that Plaintiff experienced during answered

calls before being connected to a live representative of Defendant is instructive that an ATDS

was being used. Finally, the frequency and nature of Defendant’s calls strongly suggests that an

ATDS was used.

    31. Defendant violated the TCPA by placing phone calls to Plaintiff’s cellular phone using

an ATDS without Plaintiff’s consent. Any consent Plaintiff may have given to Defendant was

explicitly revoked.

    32. The calls placed by Defendant to Plaintiff were regarding business transactions and not

for emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

    33. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

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should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, ASHLEY NICHOLE BERGHEGER, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees; and

   d. Awarding any other relief as this Honorable Court deems just and appropriate


                        COUNT II – VIOLATIONS OF THE ILLINOIS
                 CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT

   34. Plaintiff restates and realleges paragraphs 1 through 33 as though fully set forth herein.

   35. Plaintiff is a “person” and “consumer” as defined by 815 ILCS 505/1(c) and (e) of the

ICFA.

   36. Defendant’s collection calls to Plaintiff are “trade” and “commerce” as defined by 815

ILCS 505/1(f) of the ICFA.

   37. The ICFA states:

               “Unfair methods of competition and unfair or deceptive acts or
               practices, including but not limited to the use or employment of any
               deception, fraud, false pretense, false promise, misrepresentation or
               the concealment, suppression or omission of any material fact, with
               intent that others rely upon the concealment, suppression or
               omission of such material fact . . . in the conduct of any trade or
               commerce are hereby declared unlawful whether any person has in
               fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

   38. Defendant violated 815 ILCS 505/2 by engaging in an unfair and deceptive act or

practice in contacting Plaintiff. It was unfair for Defendant to relentlessly contact Plaintiff

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through means of an ATDS when she requested that it no longer do so. Defendant ignored

Plaintiff’s request and continued to contact her, calling as many as seven times during the same

day. Plaintiff specifically told Defendant not to contact her anymore. However, Defendant

ignored Plaintiff’s prompts and continued to seek payment from her.

   39. It was also unfair and deceptive for Defendant to threaten legal action towards Plaintiff

in an attempt to obtain payment from her. As a sophisticated financial institution, Defendant has

a unique understanding into consumer’s fear over legal action. Defendant exploited this concern

in order to coerce Plaintiff into paying the consumer credit card in full. Plaintiff acquiesced to

Defendant’s threats by using her valuable tax return to make payment.

   40. The ICFA was designed to protect consumers, such as Plaintiff, from the exact behavior

committed by Defendant.

   41. The ICFA further states:

                “Any person who suffers actual damage as a result of a violation of
                this Act committed by any other person may bring an action against
                such person. The court, in its discretion may award actual economic
                damages or any other relief which the court deems proper.” 815
                ILCS 505/10a.

   42. As pled in paragraphs 20 through 27, Plaintiff has suffered actual damages as a result of

Defendant’s unlawful collection practices. As such, Plaintiff is entitled to relief pursuant to 815

ILCS 505/10a.

   WHEREFORE, Plaintiff, ASHLEY NICHOLE BERGHEGER, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual and punitive damages, in an amount to be determined at trial,
      for the underlying violations;



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   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: September 7, 2016                   Respectfully submitted,

                                           s/ Nathan C. Volheim
                                           Nathan C. Volheim, Esq. #6302103
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